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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,              )   Criminal No. 11CR5171-LAB
                                            )
11                      Plaintiff,          )   FINDINGS AND RECOMMENDATION OF
                                            )   THE MAGISTRATE JUDGE UPON A
12   v.                                     )   PLEA OF GUILTY
                                            )
13   JUAN TORRES-VALENCIA,                  )
                                            )
14                      Defendant.          )
                                            )
15
16          Upon Defendant’s request to enter a plea of Guilty to
17   Count One of the Information pursuant to Rule 11 of the Federal
18   Rules of Criminal Procedure, this matter was referred to the
19   Magistrate Judge by the District Judge, with the written consents
20   of the Defendant, counsel for the Defendant, and counsel for the
21   United States.
22          Thereafter, the matter came on for a hearing on Defendant’s
23   plea of guilty, in full compliance with Rule 11, Federal Rules of
24   Criminal Procedure, before the Magistrate Judge, in open court
25   and on the record.
26          In consideration of that hearing and the allocution made by
27   the Defendant under oath on the record and in the presence of
28   counsel, and the remarks of the Assistant United States Attorney,


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 1        I make the following FINDINGS - that the Defendant
 2   understands:
 3        1.    the right to persist in a plea of “not guilty”;
 4        2.    the right to a speedy and public trial;
 5        3.    the right to be tried by a jury, or the ability to
 6              waive that right and have a judge try the case without
 7              a jury;
 8        4.    the right to the assistance of counsel at trial;
 9        5.    that, at trial, there would be the right to confront
10              and cross-examine the witnesses against the Defendant;
11        6.    that, at trial, there is the right to present a
12              defense, and the right to have witnesses subpoenaed to
13              testify on the Defendant’s behalf;
14        7.    that, at trial, the Defendant would have the right
15              against compelled self-incrimination;
16        8.    the nature of the charge filed in this case;
17        9.    the maximum possible sentence that could be imposed
18              (including imprisonment, fine, term of supervised
19              release, and mandatory special assessment), the effect
20              of a supervised release term, and that the sentencing
21              guidelines are only advisory so that the Court may
22              sentence Defendant up to the statutory maximum;
23        10.   the terms of the plea agreement;
24   I further find that:
25        11.   that Defendant’s plea of guilty is made knowingly and
26              voluntarily;
27        12.   the Defendant is competent to enter a plea; and
28        13.   there is a factual basis for Defendant’s plea.


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 1        I therefore RECOMMEND that the District Judge accept the
 2   Defendant’s plea of guilty.
 3        The sentencing hearing will be before United States District
 4   Judge Larry A. Burns, on February 13, 2012, at 9:30am.
 5        Objections to these Findings and Recommendations are waived
 6   by the parties if not made within 14 days of the hearing.
 7
 8
 9   Dated: November 29, 2011
                                       Honorable William V. Gallo
10                                     United States Magistrate Judge
11   Copies to:
12   Hon. Larry A. Burns
     U.S. District Judge
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14   Assistant United States Attorney
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     Stephen White
16   Counsel for Defendant
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